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 1   Marshall Meyers (020584)
 2   WEISBERG & MEYERS, LLC
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 3   Phoenix, AZ 85012
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 6
     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Joshua Garcia,                                ) Case No.
10
                                                   )
     Plaintiff,                                    ) COMPLAINT AND TRIAL BY JURY
11                                                 ) DEMAND
             vs.                                   )
12
                                                   )
13   Reliant Capital Solutions, LLC,               )
                                                   )
14
                                                   )
15   Defendant.                                    )
16
                                       NATURE OF ACTION
17

18           1.    This is an action brought under the Fair Debt Collection Practices Act
19
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
20
                                   JURISDICTION AND VENUE
21

22           2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23
     1331.
24
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
25

26   the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where
27   Plaintiff resides in this district), and/or where Defendant transacts business in this district.
28




                                               Complaint - 1
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 1                                           PARTIES
 2
            4.     Plaintiff, Joshua Garcia (“Plaintiff”), is a natural person who at all relevant
 3

 4
     times resided in the State of Arizona, County of Maricopa, and City of Tempe.

 5          5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 6
            6.     Defendant, Reliant Capital Solutions, LLC (“Defendant”) is an entity who
 7

 8
     at all relevant times was engaged, by use of the mails and telephone, in the business of

 9   attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
10
            7.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
11
                                   FACTUAL ALLEGATIONS
12

13          8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
14
     owed or due, or asserted to be owed or due a creditor other than Defendant.
15
            9.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
16

17   owed or due a creditor other than Defendant, arises from a transaction in which the
18
     money, property, insurance, or services that are the subject of the transaction were
19
     incurred primarily for personal, family, or household purposes. Plaintiff incurred the
20

21   obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor
22   other than Defendant.
23
            10.    Defendant uses instrumentalities of interstate commerce or the mails in a
24

25   business the principal purpose of which is the collection of any debts, and/or regularly

26   collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
27
     owed or due another.
28




                                              Complaint - 2
       Case 2:10-cv-02262-FJM Document 1 Filed 10/22/10 Page 3 of 5



 1          11.    Defendant threatened to take an action against Plaintiff that could not be
 2
     legally taken or that was not actually intended to be taken, including threatening to
 3

 4
     garnish Plaintiff’s entire pay check, to take Plaintiff’s personal property from his home

 5   and to put a lien on his car.
 6
            12.    On or about November 27, 2009, after Plaintiff was forced to close a bank
 7

 8
     account as a result of fraud, Plaintiff spoke to Defendant’s collector and their supervisor.

 9          13.    On that occasion, Defendant’s representative told Plaintiff that if he did not
10
     make a payment Defendant would garnish Plaintiff’s entire pay check, take Plaintiff’s
11
     personal property from his home and put a lien on his car. (§ 1692e(4) and (5))
12

13          14.    In connection with collection of a debt, Defendant used language the
14
     natural consequence of which was to abuse Plaintiff.
15
            15.    During the November 27th conversation, Defendant’s supervisor told
16

17   Plaintiff that he had to make an “F’ing payment”. (§ 1692d(2)).
18
            16.    Defendant used false representations and deceptive practices in connection
19
     with collection of an alleged debt from Plaintiff.
20

21          17.    In May of 2010, Defendant’s representative represented to Plaintiff that he
22   was required to make a payment by July 13, 2010 or else the debt would go on his credit
23
     and the account would be returned to the original creditor.
24

25          18.    Plaintiff did not make the payment, however Defendant did not report the

26   debt to the credit bureaus nor return it to the creditor, but instead withdrew $103.00 from
27
     Plaintiff’s bank account. (§ 1692e(10).
28




                                               Complaint - 3
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 1          19.      Defendant’s actions constitute conduct highly offensive to a reasonable
 2
     person, and as a result of Defendant’s behavior Plaintiff suffered and continues to suffer
 3

 4
     injury to Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or

 5   emotional distress.
 6
                                               COUNT I
 7

 8
            20.      Plaintiff repeats and re-alleges each and every allegation contained above.

 9          21.      Defendant violated the FDCPA as detailed above.
10
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
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                  a) Adjudging that Defendant violated the FDCPA;
12

13                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
14
                     amount of $1,000.00;
15
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
16

17                d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
18
                     action;
19
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
20

21                   allowed under the law;
22                f) Awarding such other and further relief as the Court may deem just and
23
                     proper.
24

25                                        TRIAL BY JURY

26          Plaintiff is entitled to and hereby demands a trial by jury.
27

28




                                               Complaint - 4
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 1            Respectfully submitted this 22nd day of October, 2010
 2
                            By: s/ Marshall Meyers
 3                          Marshall Meyers (020584)
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                                       Complaint - 5
